Case 2:19-cv-07510-JAK-JPR Document 90 Filed 10/02/20 Page 1 of 1 Page ID #:557



   1
   2
   3
   4
   5
   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
  11   DONALD KUNSTT,                 )            Case No.: 2:19-cv-07510-JAK-JPR
                                      )
  12           Plaintiff,             )            ORDER RE STIPULATION TO
                                      )            DISMISS ENTIRE ACTION WITH
  13       vs.                        )            PREJUDICE
                                      )
  14   COUNTY OF LOS ANGELES, et al., )            JS-6
                                      )
  15           Defendants.            )
                                      )
  16                                  )
                                      )
  17                                  )
                                      )
  18                                  )
                                      )
  19                                  )
  20
  21         Pursuant to the Stipulation to Dismiss Case (Dkt. 89), the above-entitled
  22   action is hereby dismissed in its entirety, with prejudice, pursuant to Federal Rule
  23   of Civil Procedure 41(a)(1). The Show Cause Hearing set for December 14, 2020
  24   (Dkt. 87), is VACATED.
  25
  26         IT IS SO ORDERED.
  27
  28   DATED: October 2, 2020                 ___________________________________
                                              John A. Kronstadt
                                              United States District Judge
